        Case 22-50073
              Case 3:25-cv-00331-SVN
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                                                3 Filed 03/05/25
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                          United States Bankruptcy Court

                                  District of Connecticut


In re: Ho Wan Kwok                                                                                   Case Number: 22-50073(JAM)
                                                                                                     Chapter: 11
         Debtor(s)
                                                                                                 U.S. District Court
         APPELLANT:                                                                                  Case No:
         Amazon.com, Inc.                                                                        Filing Fee Status:
         Amazon Web Services, Inc.
                                                                                                     ✔ Paid     Not Paid   IFP Granted



                      TRANSMITTAL NOTICE TO U.S. DISTRICT COURT FOR THE DISTRICT
                     OF CONNECTICUT REGARDING APPEALS AND APPELLATE DOCUMENTS

                                            NOTICE OF APPEAL INFORMATION

Notice of Appeal Filed:     March 4, 2025

BKY ECF No.1 : 4191
Filing Fee Status:    ✔   Paid/    Not Paid/    IFP Granted

If Not Paid, Motion to Proceed in Forma Pauperis Filed:       Yes, BKY ECF No.                   /       No

Appellant Name : Amazon.com, Inc.
                 Amazon Web Services, Inc.

Appellant Address :

Appellant’s Counsel and Address (Address/Phone/Email): Brian T. Peterson
                                                       Ruby A. Nagamine
                                                       K&L Gates LLP
                                                       925 Fourth Avenue, Suite 2900
                                                       Seattle, WA 98104
                                                       Phone: (206) 623-7580
                                                       E-mail: brian.peterson@klgates.com
                                                       ruby.nagamine@klgates.com
                                                       - and -
                                                       Lindsay Sampson Bishop
                                                       K&L Gates LLP
                                                       1 Congress St.
                                                       Boston, MA 02114
                                                       Phone: (617) 261-3100
                                                       E-mail: lindsay.bishop@klgates.com




1      ECF No(s). citations referenced in this Transmittal Notice refer to docket entries of the U.S. Bankruptcy Court for the case in
which the notice of appeal was filed, unless otherwise noted.

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        Case 22-50073
              Case 3:25-cv-00331-SVN
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                                                                     Page 2 Page
                                                                            of 5 2 of 4
Appellee(s) Name : Luc A. Despins, as Chapter 11 Trustee

Appellee(s) Address :

Appellee(s) Counsel and Address (Address/Phone/Email): Douglas S. Skalka
                                                       Patrick R. Linsey
                                                       Neubert, Pepe & Monteith, P.C.
                                                       195 Church St., 13th Fl.
                                                       New Haven, CT 06510
                                                       Phone: (203) 821-2000
                                                       E-mail: dskalka@npmlaw.com
                                                       plinsey@npmlaw.com
                                                       - and -
                                                       Douglass Barron
                                                       Paul Hastings LLP
                                                       200 Park Ave.
                                                       New York, NY 10166
                                                       Phone: (212) 318-6000
                                                       E-mail: douglassbarron@paulhastings.com
                                                       - and –
                                                       Nicholas A. Bassett
                                                       Paul Hastings LLP
                                                       2050 M St. NW
                                                       Washington, D.C. 20036
                                                       Phone: (202) 551-1902
                                                       Email: nicholasbassett@paulhastings.com

Other Interested Party Information:




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       Case 22-50073
             Case 3:25-cv-00331-SVN
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                                               3 Filed 03/05/25
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                              DOCUMENTS TRANSMITTED TO THE DISTRICT COURT
Please find the following items attached to this Transmittal Notice:
         ✔     Notice of Appeal, BKY ECF No.        4191

               Amended Notice of Appeal, BKY ECF No.

               Cross Appeal, BKY ECF No.

               Motion for Leave to Appeal, BKY ECF No.

         ✔     Order / Decision being appealed
             Title of Order / Decision: Order Granting Second Supplemental Motion of Chapter 11 Trustee To Extend
                                        February 15, 2025 Deadline For Trustee To File Avoidance Actions.
             BKY ECF No.: 4106
             Additional Information (If Any)



               Deficiency Notice Issued for Failure to Pay Filing Fee, BKY ECF No.

               Motion to Proceed in Forma Pauperis, BKY ECF No.
                   Order, BKY ECF No.
             Resolution of Motion:


               The Record
                   Appellant’s Designation of Items, BKY ECF No.
                          Included in the Electronic Docket Sheet
                   Appellant’s Statement of Issues, BKY ECF No.
                          Included in the Electronic Docket Sheet
                   Appellee’s Designation of Items, BKY ECF No.
                          Included in the Electronic Docket Sheet
                   Appellee’s Statement of Issues, BKY ECF No.
                          Included in the Electronic Docket Sheet
                   Electronic Docket Sheet for Bankruptcy Case Number:
                   Electronic Docket Sheet for Adversary Proceeding Case Number:
                   Transcripts:
                   Sealed Documents:
                   Sealed documents will not be transmitted until an order is entered by the U.S. District Court accepting the
                   documents under seal pursuant to Fed. R. Bankr. P. 8009(f).
                   Court Exhibits (Paper Copies):
                   Other Documents:

               Other:


Transmitted By: Karen M. Garofalo                                                          Date: March 5, 2025
                Deputy Clerk, U.S. Bankruptcy Court


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                          United States Bankruptcy Court

                                   District of Connecticut


In re: Ho Wan Kwok                                                                               Case Number: 22-50073(JAM)
                                                                                                 Chapter: 11
        Debtor(s)
                                                                                                 U.S. District Court
        APPELLANT:                                                                               Case No:
        Amazon.com, Inc.                                                                         Filing Fee Status:
        Amazon Web Services, Inc.
                                                                                                  ✔ Paid    Not Paid   IFP Granted
Regarding:
Notice of Appeal Filed:     March 4, 2025
Notice of Appeal, BKY ECF No. 4191


                                            Acknowledgement by U.S. District Court
         X     I hereby acknowledge receipt of the items indicated on the Transmittal Notice referenced
               above.

If Notice of Appeal and/or Motion for Leave to Appeal Received:

The following U.S. District Court number has been assigned:                 25-cv-00331-SFR


Acknowledged By:          /s/Nick Fanelle                                            Date:    3/6/2025
                          Deputy Clerk, U.S. District Court




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               Case 3:25-cv-00331-SVN                Document 3           Filed 03/05/25   Page 5 of 5

CTDdb_BankruptcyAppeals
From:              CTBECF_Courtmail@ctb.uscourts.gov
Sent:              Wednesday, March 5, 2025 10:40 AM
To:                Courtmail@ctb.uscourts.gov
Subject:           22-50073 Transmittal regarding Appeal and/or related documents (USDC)


***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits
attorneys of record and parties in a case (including pro se litigants) to receive one free electronic
copy of all documents filed electronically, if receipt is required by law or directed by the filer.
PACER access fees apply to all other users. To avoid later charges, download a copy of each
document during this first viewing. However, if the referenced document is a transcript, the free
copy and 30-page limit do not apply.

                                                U.S. Bankruptcy Court

                                                District of Connecticut

Notice of Electronic Filing

The following transaction was received from kg entered on 3/5/2025 at 10:39 AM EST and filed on
3/5/2025
Case Name:           Ho Wan Kwok
Case Number:         22-50073
Document Number: 4192

Docket Text:
Transmittal of Notice of Appeal to U.S. District Court (RE: [4191] Notice of Appeal (Attachments: # (1)
Notice of Appeal # (2) Order Granting Third Motion for Extension of Deadline for Trustee to File Avoidance
Actions)(kg)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:1-Transmittal NOA 4191.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1018027260 [Date=3/5/2025] [FileNumber=15841665-0
] [184cc692b378008915bbd1491f57fdcbc6e94f7532f6372b68296832ae61c56d6e0
d22b0a6179f0d367ef5e5748b63defce3251b97790cb662bf44f997198bff]]
Document description: Notice of Appeal
Original filename:C:\fakepath\NOA 4191.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1018027260 [Date=3/5/2025] [FileNumber=15841665-1
] [1a815a4f0362d318f6a079bb7205d72353285d56276c79c1422354b8f108936088d
9c3fafeef200b85f33bd11715c8e14ba4066003c3cf26c05586cbf4708a23]]
Document description: Order Granting Third Motion for Extension of Deadline for Trustee to File
Avoidance Actions

                                                               1
